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                     EXHIBIT 9
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   From: David Yerushalmi
   Sent: Thursday, September 7, 2023 4:39 AM
   To: 'Eckstein, Maya'; 'King, Jeremy'; 'King, Jeremy'
   Subject: Doe v Mast/Documents Produced by USCCB in Response to Subpoena`

   Dear Maya et al.

   On September 5, we served the attached subpoena upon USCCB (via William Quinn as custodian of
   records/counsel). (All counsel were served by USPS first class mail earlier that day). USCCB produced
   documents that my paralegal will by making available to you momentarily. The production raises some
   confidentiality issues that I address herein.

   Per our meet and confer of yesterday, I found your updated privileged log of June 8 which was directed to
   spam (not the first time this has occurred with emails from your office [notwithstanding being on my "Not
   Spam" list]). As a result, I note that you claim a Martha Jenkins and Carolina Velazquez
   occupy/occupied some legal relationship to the Does that gives rise to a claim of "Attorney Work
   Product." The production provided by USCCB includes two documents that appear they might be listed
   on your privilege log (although on the privilege log, the Bates numbering suggest each of these
   documents are only one page...but I am assuming those Bates numbers are placeholders and do not
   actually reflect the number of pages of these documents).

   As such, my paralegal will be providing you with a link to these documents for your review and possible
   designation. Pursuant to Supreme Court of Virginia Rule 4:1(b)(6)(ii) and Virginia Legal Ethics
   Opinions Nos. 1871 and
   1702 we will not be providing these documents to any other party to this lawsuit nor to any third party.
   We have sequestered these documents until such time as you respond, and likely, until further order of the
   Court. The only individuals that have received these documents are my paralegal, my client, and myself.
   My paralegal has neither read the documents nor will she retain a copy after uploading them to the service
   to provide you with a link. My client has destroyed his copy. I am in control of the only copies my office
   now possesses.

   If you believe I have any other obligation under the law applicable to this matter, I stand ready to review
   your understanding and will respond appropriately.

   David Yerushalmi*
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